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                                                                                       COURT
                                                                      ILED IN DISTRICT
                      IN THE DISTRICT COURT OF CREEK                  MIXDUNTY SAPULPA OK
                                STATE OF OKLAHOMA
                                                                            NOV 1 7 21311Lp
    KRISTINA VERDEA,                          )                     TIME VanOrsdol, COURT C1 F_
                                              )                     Amanda
                          Plaintiff,          )

    vs.
                                              )
                                              ) Case No.
                                                                       2017-346
                                              )
    STATE FARM MUTUAL                         )                DOUGLAS W. GOLDEN
    AUTOMOBILE INSURANCE                      )
    COMPANY                                   )
                                              )
                          Defendant.          )

                                           PETITION

          COMES NOW Plaintiff, Kristina Verdea, and for her cause of action

    alleges and states:

          1. On or about August 10, 2016, plaintiff was injured in an automobile accident

                at 1-44/Turner Turnpike and mile marker 216,in Sapulpa, Oklahoma.

           2.   That the aforesaid accident was the direct result of the negligence of driver,

                Paula Bradshaw,in that she failed to exercise reasonable care in operating the

                vehicle she was driving.

          3. That said vehicle was driven and owned by driver Paula Bradshaw.

          4. That as a result of Paula Bradshaws negligence, Plaintiff has incurred medical
                expenses, lost earnings, physical pain and suffering, mental pain and

                suffering, disfigurement and property damage.

          5. That at the time of the aforementioned collision, a policy of insurance was in

                full force and effect between the Plaintiff and Defendant, State Farm Mutual

                Automobile Insurance Company. The aforementioned insurance contract



                                                                                       EXHIBIT
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            between Plaintiff and Defendant also contained a provision for, among other

            things, uninsured and/or underinsured motorist coverage.

         6. Defendant State Farm Mutual Automobile Insurance Company has refused to

            uphold the terms of the policy and other damages as provided by law as it is

            required to do under the terms of the subject insurance policy.

         7. Defendant State Faiiii Mutual Automobile Insurance Company has breached

            its contract with Plaintiff.

         8. Through its refusal to uphold the terms of its policy, Defendant State Farm

            Mutual Automobile Insurance Company has failed to deal fairly and in good

            faith with their insured.

         9. Plaintiff has suffered emotional distress as a result of Defendant State Farm

            Mutual Automobile Insurance Company refusal to uphold the terms of its

            policy.

         io. Defendant State Faun Mutual Automobile Insurance Company refusal to

            uphold the terms of its policy represents an intentional and calculated act of

            bad faith. As a result of Defendant State Farm Mutual Automobile Insurance

            Company tortuous misconduct, Plaintiff is entitled to recover punitive

            damages from Defendant State Farm Mutual Automobile Insurance Company

            in an amount sufficient to adequately punish them, and in an amount

            sufficient to promote the underlying policies supporting the award of such

            damages in appropriate cases.

            Plaintiff is entitled to recover actual and punitive damages from Defendant in

            an amount exceeding the sum of $75,000.00, exclusive of interest and costs.
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         WHEREFORE,premises considered, Plaintiff prays for judgment from

   Defendants for compensatory and punitive damages, together with interest, costs,

   attorney's fees, and any other relief this Court deems just and equitable.



                                             Respectfully submitted,

                                             GRIFFIN,REYNOLDS & ASSOCIATES




                                            Billy D. "in,A t( .' No. 17945
                                            Jason B. Reyno s, OBA No. 18132
                                            Jon Williford,0 A No.19598
                                            210 S.E. 89th Street
                                            Oklahoma City, OK 73149
                                            (405)721-9500
                                            (405)721-9503 Facsimile
                                            Attorneysfor Plaintiff




         ATTORNEY LIEN CLAIMED
         JURY TRIAL DEMANDED
